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                         IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF UTAH

ALLEN ANDERSEN, et al.,,
                                                     ORDER
                        Plaintiffs,

v.

STATE OF UTAH, et al.,,                             Case No. 1:16-cv-5-CW
                        Defendants.                 District Judge Clark Waddoups



        Now before the Court is Plaintiffs’ Motion to Consolidate (ECF No. 137) and Motion for

Scheduling Order (ECF No. 138). The court held a hearing on the Motions on December 20,

2018. Attorney Ted McBride appeared on behalf of Plaintiffs, and attorneys Stevin Brooks, Jody

Burnett, Paul Dodd, Robert Hughes, Kyler Kaiser, Robert Keller, and Clifford Petersen appeared

on behalf of the State of Utah and various municipal Defendants. After due consideration of the

parties’ filings and oral arguments, and otherwise being fully advised, the court

        HEREBY ORDERS, for the reasons stated on the record, Plaintiffs’ Motion to

Consolidate is DENIED. (ECF No. 137.) Furthermore, Plaintiffs’ Motion for a Scheduling Order

is GRANTED. The court enters the following scheduling order:

     1. On or before January 11, 2019, Defendants shall file any responsive motion or pleading it

        deems appropriate. Should a Defendant file a motion other than a motion to dismiss or an

        answer, no answer shall be required until the court resolves the motion.

     2. On or before January 11, 2019, Plaintiff may file a motion for leave to amend the

        complaint if they deem it appropriate.
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3. On or before January 25, 2019, Plaintiffs shall respond to Defendants’ motions.

4. On or before January 25, 2019, if Plaintiffs file a motion to amend, Defendants shall

   respond to Plaintiffs’ motion.

           DATED this 20th day of December, 2018.

                                         BY THE COURT:




                                         Clark Waddoups
                                         United States District Judge




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